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                  IN THE UNITED STATES DISTRICT COURT

                        FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                  Plaintiff,
     vs.                                Case No. 11-40057-03-RDR

JUAN ANGEL CRUZ,

                  Defendant.


                                 O R D E R

     This matter is presently before the court upon defendant’s

motion for additional time to file motions. The defendant seeks an

extension of the deadline for pretrial motions, which is presently

October 17, 2011, because of the need to review discovery that was

just produced by the government on October 13, 2011.                   Defense

counsel notes that he has not had the opportunity to discuss this

material   with   the   defendant.     The   defendant        notes   that   the

government has no objection to this motion.

     The defendant is charged with two others with (1) conspiracy

to possess with intent to distribute methamphetamine in violation

of 21 U.S.C. § 846 and (2) possession with intent to distribute

methamphetamine in violation of 21 U.S.C. § 841(a)(1).                       The

original indictment in this case was filed on July 27, 2011.                  A

superseding indictment was filed on August 24, 2011. The defendant

is in custody pending trial.

     Under the Speedy Trial Act, 18 U.S.C. § 3161(h)(7), the court
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may exclude a period of delay from the time computed under the

Act’s deadlines for starting a trial if the court finds that the

ends of justice served by granting the continuance outweigh the

best interest of the public and the defendant in a speedy trial.

To make this determination, the court must consider the following

factors “among others:”        1) whether the failure to grant the

continuance would likely make the continuation of the proceeding

impossible or result in a miscarriage of justice; 2) whether the

case is unusual, complex or contains novel issues which require

additional time for preparation; 3) whether there was a delay in

filing the indictment which justifies a continuance; and 4) whether

the failure to grant a continuance would deny the defendant

reasonable time to obtain counsel, or deny either side continuity

of counsel or deny the attorney for the government or defendant the

reasonable time necessary for effective preparation, taking into

account the exercise of due diligence.

     After full consideration, the court finds that the denial of

the requested extension may deny counsel and defendant the time

necessary to adequately prepare for trial, taking into account the

exercise of due diligence.      The court believes that the requested

continuance is in the interests of the public and the parties

because it will facilitate a fair, just and efficient resolution of

this matter.

     In sum, the court finds that the continuance requested is in


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the interests of justice which outweigh the interests of the public

and the defendant in a speedy trial.        Therefore, the continuance

requested constitutes excludable time under 18 U.S.C. § 3161(h)(7).

     Defendant’s motion shall be granted and he shall be allowed

until November 17, 2011 in which to file pretrial motions.                 The

government shall be allowed until November 28, 2011 to file its

responses.   The hearing on all pretrial motions filed in this case

shall be held on December 9, 2011 at 9:30 a.m.

     IT IS SO ORDERED.

     Dated this 21st day of October, 2011 at Topeka, Kansas.


                                  s/Richard D. Rogers
                                  United States District Judge




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